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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW .]ERSEY

 

JOHN DOE,
Plaintiff,
v.
PRINCETON UNIVERSITY,

Defendant.

 

: Civil Action
: No.3:18-cv-16539-MAS~LHG

: sTIPULATIoN EXTENDING

= TIME FoR DEFENDANT

j PRINCETON UNIVERSITY To
§ ANSWER, MovE oR

: oTHERWIsE REsPoNI) To

= PLAINTIFF’s coMPLAINT

WHEREFORE, the defendants’ investigation that is the underlying subject

of the complaint in this action is not yet complete, the results of that investigation

may moot the current dispute, and the parties believe a 45 day extension will

suffice for the resolution of that investigation and any potential administrative

appeal therefrom;

WHEREFGRE, the Coutt has entered one stipulated extension of time of 30

days to Answer, to February 22, 2019 thus far in this action;

lt is hereby stipulated and agreed by and between the attorneys for Plaintiff

and the attorneys for Defendant that:

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l. The time within which Defendant may answer, move, or otherwise
respond to Plaintiff’s Complaint is extended for a period of forty-five (45) days to
April 8, 2019.

2. One prior extension of 30 days to the time to respond to Plaintiff’s
Complaint has been granted.

IT IS S() STIPULATED

Respectfully submitted,

Dated: February 21, 2019 %\ l@)

Stephen J. Kastenb rg, Esq.
Christopher J. Kel , Esq.

 

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Ronald Israel, Esq.

SO ORDERED

Date: §§ Z(/Lé§

 

 

